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   1                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                               EASTERN DIVISION
   3    DEMETRIUS JOHNSON,                             )   No. 20 C 4156
                                                       )
   4                          Plaintiff,               )
                                                       )
   5                   vs.                             )   Chicago, Illinois
                                                       )
   6    REYNALDO GUEVARA, JOANN HALVORSEN,             )
        as Personal Representative to the              )
   7    Estate of Ernest Halvorsen, DARRYL             )
        DALEY, WILLIAM ERICKSON, JOHN                  )
   8    HEALY, and the CITY OF CHICAGO,                )
                                                       )   January 25, 2024
   9                          Defendants.              )   9:45 a.m.
  10                            TRANSCRIPT OF PROCEEDINGS
                              BEFORE THE HON. SARA L. ELLIS
  11
        APPEARANCES:
  12
        For the Plaintiff:          MR. ANAND SWAMINATHAN
  13                                MS. MARGARET N. GOULD
                                    MS. ALYSSA MARTINEZ
  14                                Loevy & Loevy,
                                    311 North Aberdeen Street, 3rd Floor,
  15                                Chicago, Illinois 60607
  16    For Defendant
        Guevara:                    MS. THOMAS M. LEINENWEBER
  17                                Leinenweber, Baroni & Daffada, LLC,
                                    120 North Lasalle Street, Suite 2000,
  18                                Chicago, Illinois 60602
  19    For Defendants Daley,
        Halvorsen, Erickson,
  20    and Healy:            MR. JOSH M. ENGQUIST
                              MR. DAVID A. BRUEGGEN
  21                          The Sotos Law Firm, P.C.,
                              141 West Jackson Boulevard, Suite 1240A,
  22                          Chicago, Illinois 60604
  23
                     Patrick J. Mullen, Official Court Reporter
  24                        United States District Court
                        219 South Dearborn Street, Room 1412
  25                          Chicago, Illinois 60604
                                 (312) 435-5565
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   1    APPEARANCES: (Continued.)
   2    For Defendant City
        of Chicago:                 MS. EILEEN E. ROSEN
   3                                Rock, Fusco & Connelly, LLC,
                                    333 West Wacker Drive, 19th Floor,
   4                                Chicago, Illinois 60606
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   1          (Telephonic proceedings on the record.)
   2               THE COURT: 2020 CV 4156, Johnson versus Guevara.
   3               MR. SWAMINATHAN: Good afternoon, Your Honor. Anand
   4    Swaminathan for the plaintiff along with my colleagues Alyssa
   5    Martinez and Meg Gould, and just to note we have our client,
   6    Mr. Demetrius Johnson, here as well today.
   7               The COURT: All right.
   8               MR. ENGQUIST: Good morning, Your -- or good
   9    afternoon, Your Honor. Josh Engquist on behalf of defendants
  10    Healy, Erickson, Halverson, and Daley.
  11               MS. ROSEN: Good afternoon, Judge. Eileen Rosen on
  12    behalf of defendant City of Chicago.
  13               MR. BRUEGGEN: Good afternoon, Judge. Dave Brueggen
  14    also on behalf of defendants Healy, Daley, Erickson, and I
  15    forget the other.
  16               MR. ENGQUIST: Daley.
  17               MR. BRUEGGEN: Daley, there we go.
  18               MR. LEINENWEBER: Excuse me. Tom Leinenweber on
  19    behalf of Reynaldo Guevara.
  20               THE COURT: All right. Good afternoon.
  21               Okay. So the reason you're here is that this is
  22    looking a bit like a hot mess, and I don't do hot messes over
  23    the phone. I will tell you, you know, it's also a little bit
  24    like a ticky-tacky pointing of fingers which, again, I'm not
  25    going to do over the phone.
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   1               So to cut to the chase -- and I'm not interested in
   2    any finger pointing or playing -- where are you in terms of
   3    working out a document that I can look at that tells me what
   4    your issues and disputes are?
   5               MR. ENGQUIST: For my clients, Your Honor, we started
   6    off with 133. Plaintiff added 12, and then we were able to
   7    work it down to 122. It came back again. We had about 80
   8    agreed. Right now I believe there's 42 in dispute. They just
   9    came back at a little after 11:00 o'clock today. Mr. Brueggen
  10    and I were working through it. We've worked through until we
  11    came here almost half of those, and then a lot of the disputes
  12    afterwards pretty much seem to be the same dispute over and
  13    over again.
  14               So that's where we're at right now. We're working
  15    through it. Mr. Brueggen and I will keep on working on that
  16    part of it, and we're going to respond back to him on the last
  17    one he sent to us this afternoon probably before tomorrow
  18    morning.
  19               THE COURT: All right. So when can you get something
  20    narrowed down where I am looking at the true disputes?
  21               MR. ENGQUIST: The way I look at it, Your Honor, it's
  22    just making sure that we have the objections in. There's only
  23    a couple that are in there that I've gone through so far in the
  24    disputed category that I think we just need a clarification on
  25    so far just to see if they're disputed or not. It has to do
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   1    with some language issues. But once we get those in line with
   2    this back-and-forth, we can get it done before Monday.
   3               MR. SWAMINATHAN: We should be able to get it on file
   4    tomorrow as far as I'm concerned. I think there's really just
   5    a few things we've got to resolve on whether we think they
   6    really are in dispute and, otherwise, we've just got to put
   7    some exhibit numbers on stuff and get it on file.
   8               MR. ENGQUIST: The only reason I --
   9               THE COURT: Well, here's the thing. I'm not here next
  10    week. So even if you file something tomorrow, I'm not going to
  11    see you next week.
  12               So, Ms. Johnson, what does the 14th or 15th look like?
  13          (Discussion off the record.)
  14               THE CLERK: So 10:30 on the 14th of February.
  15               THE COURT: Yes. So then if you can get it -- well, I
  16    don't care what day next week. You tell me.
  17               MS. ROSEN: Judge, we still have to -- this would
  18    apply for the city's as well?
  19               THE COURT: Yes.
  20               MS. ROSEN: So if we can send it back because we now
  21    have had three amendments from the plaintiffs that I think now
  22    can put us in a better position to at least narrow it to what
  23    actually is in dispute, so if we can get it on file February
  24    2nd, that would give us time. We have a summary judgment
  25    motion due tomorrow and another due on Monday. So we can get
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   1    our position back to plaintiff, and if plaintiff can promptly
   2    turn it around then I think we can get something on file by
   3    February 2nd.
   4               THE COURT: Okay. So is that going to work?
   5               MR. SWAMINATHAN: Yeah. My client is here, and he's
   6    here because he cares about this issue. I understand the
   7    Court's ruling. I'm not debating it and I'm not here to point
   8    fingers, but I have to say that this feels unfair to plaintiff.
   9    I mean, this has been -- by not sending us anything until
  10    December 22nd, we're now in a position where understandably we
  11    need more time.
  12               I mean, there's no question that we're actually
  13    completing this process, and it can't be done in time for Your
  14    Honor to have had an opportunity to adjudicate these issues.
  15    The person who loses is nobody but Demetrius Johnson, and
  16    that's extremely frustrating. I understand the Court's ruling
  17    and I understand what you're saying, but from plaintiff's
  18    perspective this has been something we've raised with the Court
  19    over and over. There have been repeated extensions over our
  20    objections, and there was no reason.
  21               No one has ever told us or given an explanation to the
  22    Court for why if we finished fact discovery in December of 2022
  23    we didn't get a joint statement of fact until December 22nd,
  24    which is the reason we are in this position that we have to
  25    take extensions and the summary judgment schedule will extend
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   1    another month or more.
   2               I just wanted to put that on the the record. My
   3    client is here. It matters to him, but I understand your
   4    ruling.
   5               THE COURT: And I understand his frustration.
   6    Nonetheless, you know, I set up this process for a reason, and
   7    I expect that all sides participate in good faith. When I see
   8    objections -- well, I haven't necessarily seen them in this
   9    case, but I have seen them from your firm where at times I am
  10    struck by the nature of the objections in that they're not
  11    really objections. They're arguments, and they're not really
  12    objections.
  13               So I'm not saying that that is happening here because
  14    I haven't seen them, but I expect that people go into this
  15    process on both sides in good faith. You cannot object to
  16    something simply because it's not in your favor or you don't
  17    like it or it's a bad fact. There are lots of bad facts.
  18    That's why we're here. There are lots of bad facts which, you
  19    know, in part, not wholly, in part was what led to
  20    Mr. Johnson's conviction in the first place.
  21               If Mr. Johnson had been, you know, sitting in church
  22    when everything went down, you know, talking to a priest, he
  23    would not be here, right? So there were some facts that at
  24    least a jury the first time around thought weren't good facts
  25    for Mr. Johnson. There certainly can be an explanation for
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   1    those facts, but some facts are just bad, right? On the
   2    defendants' side, some facts are just bad, and you've got to
   3    live with them.
   4               So I will expect on both sides that people are
   5    reasonable and that the objections, if there is a dispute, it's
   6    that somebody testified to this, somebody else testified to
   7    that, and that is the basis of the objection, not an argument
   8    that I need to draw some kind of inference, none of that.
   9               MR. SWAMINATHAN: And I think that's the biggest
  10    challenge, Your Honor, that we've had in this back-and-forth
  11    dispute. I mean, it really is the -- I'm not going to preview
  12    for you the arguments, but the real problem that we are having
  13    in the back-and-forth between the parties is that fundamentally
  14    there are facts that are bad for us and bad for them and they
  15    often are butting up against each other.
  16               In defendants' view, that means you can say that you
  17    cite to the fact that's good for them and bad for you and say
  18    so-and-so witness testified at the criminal trial or at their
  19    deposition to blah, blah, blah, because you like that. Then we
  20    say here's this other fact that we like.
  21               We're fundamentally in a problem where we're saying we
  22    can't create a statement of facts that just says here's the
  23    fact defendants like, here's the fact plaintiff likes, and
  24    create a joint statement of facts that way. That's not a joint
  25    statement. That's a series of disputes, right?
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   1               THE COURT: But there's going to be a series of
   2    disputes, right? It may very well be that witness X testified
   3    at trial that, you know, he saw Mr. Johnson come out of the
   4    car, right? There could then be another fact in the joint
   5    statement of facts that is also undisputed that in
   6    Mr. Johnson's post-conviction brief as an affidavit witness X
   7    recanted her testimony. That belongs in there, too.
   8               MR. SWAMINATHAN: Yeah.
   9               THE COURT: Both of those things are undisputed. Both
  10    of those things are true. You put them together, and what that
  11    can mean for summary judgment is that there is a dispute of
  12    material fact as to, you know, the issue relating to
  13    Mr. Johnson's guilt and his claims of fabrication, witness
  14    tampering, et cetera, et cetera, et cetera, right?
  15               So you can take undisputed facts and argue them in the
  16    motion and say that here's why summary judgment isn't
  17    appropriate, but that doesn't mean that it's disputed that this
  18    particular witness testified this way at trial. The witness
  19    either did or didn't, right? The witness could have recanted
  20    later, and that is also true.
  21               MR. SWAMINATHAN: Yep.
  22               THE COURT: So that's what I expect to see.
  23               MR. SWAMINATHAN: That's useful guidance, Judge.
  24    Thank you.
  25               THE COURT: Okay.
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    1               MS. ROSEN: And, Judge, I think technically you need
    2    to vacate the deadline for the summary judgment.
    3               THE COURT: I am, yes, and I will reset the summary
    4    judgment briefing schedule once we get through this process.
    5    So I'll see everybody on the 14th.
    6               MS. ROSEN: Thanks, Judge.
    7               MR. SWAMINATHAN: Thank you, Your Honor.
    8               MR. ENGQUIST: Thank you, Your Honor.
    9               MR. LEINENWEBER: Thank you, Your Honor.
  10           (Proceedings concluded.)
  11                               C E R T I F I C A T E
  12                I, Patrick J. Mullen, do hereby certify that the
  13     foregoing is a complete, true, and accurate transcript of the
  14     proceedings had in the above-entitled case before the Honorable
  15     SARA L. ELLIS, one of the judges of said Court, at Chicago,
  16     Illinois, on January 25, 2024.
  17
  18                                       /s/ Patrick J. Mullen
                                           Official Court Reporter
  19                                       United States District Court
                                           Northern District of Illinois
  20                                       Eastern Division
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